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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 13 B 08673
         Ebony L Harden

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 03/05/2013.

         2) The plan was confirmed on 06/27/2013.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
01/02/2014.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 10/10/2013, 02/24/2014.

         5) The case was Dismissed on 05/01/2014.

         6) Number of months from filing to last payment: 13.

         7) Number of months case was pending: 16.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

           Total paid by or on behalf of the debtor                       $650.00
           Less amount refunded to debtor                                   $0.00

 NET RECEIPTS:                                                                                             $650.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                        $621.00
     Court Costs                                                                    $0.00
     Trustee Expenses & Compensation                                               $29.00
     Other                                                                          $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                         $650.00

 Attorney fees paid and disclosed by debtor:                         $400.00


 Scheduled Creditors:
 Creditor                                              Claim         Claim          Claim       Principal      Int.
 Name                                       Class    Scheduled      Asserted       Allowed        Paid         Paid
 Afni, Inc.                              Unsecured         328.00           NA            NA            0.00       0.00
 City of Chicago Department of Revenue   Unsecured      4,000.00       5,510.98      5,510.98           0.00       0.00
 Commonwealth Edison                     Unsecured         400.00        399.79        399.79           0.00       0.00
 Contract Callers Inc                    Unsecured         241.00           NA            NA            0.00       0.00
 Credit Management Lp                    Unsecured         154.00           NA            NA            0.00       0.00
 Credit Protection Asso                  Unsecured         153.00           NA            NA            0.00       0.00
 GMAC                                    Unsecured      3,271.00            NA            NA            0.00       0.00
 I.C. System Inc.                        Unsecured         240.00           NA            NA            0.00       0.00
 Illinois Bell Telephone Company         Unsecured           0.00        250.17        250.17           0.00       0.00
 Illinois Tollway                        Unsecured          20.00           NA            NA            0.00       0.00
 Joliet Junior College Service Cente     Unsecured           0.00           NA            NA            0.00       0.00
 Nco Fin/55                              Unsecured         160.00           NA            NA            0.00       0.00
 Overland Bond & Investment Corp         Unsecured     13,281.00     13,281.02      13,281.02           0.00       0.00
 Perry Managemnet                        Unsecured      4,600.00       4,600.00      4,600.00           0.00       0.00
 Premier Bankcard                        Unsecured         402.00        402.13        402.13           0.00       0.00
 Quantum3 Group                          Unsecured           0.00        528.14        528.14           0.00       0.00
 Resurgent Capital Services              Unsecured           0.00        471.75        471.75           0.00       0.00
 Sallie Mae                              Unsecured           2.00           NA            NA            0.00       0.00
 SCHULLER & SHELIST LTD                  Unsecured      1,100.00            NA            NA            0.00       0.00
 Sprint Nextel                           Unsecured         490.00        818.00        818.00           0.00       0.00
 Stellar Recovery Inc                    Unsecured         237.00           NA            NA            0.00       0.00
 Verizon Wireless                        Unsecured         300.00           NA            NA            0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00              $0.00             $0.00
       Mortgage Arrearage                                      $0.00              $0.00             $0.00
       Debt Secured by Vehicle                                 $0.00              $0.00             $0.00
       All Other Secured                                       $0.00              $0.00             $0.00
 TOTAL SECURED:                                                $0.00              $0.00             $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                             $26,261.98               $0.00             $0.00


 Disbursements:

         Expenses of Administration                               $650.00
         Disbursements to Creditors                                 $0.00

 TOTAL DISBURSEMENTS :                                                                         $650.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 07/07/2014                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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